Case 1:22-cr-00060-LEK Document 180 Filed 06/13/23 Page 1 of 4    PageID.589




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UNITED STATES OF AMERICA

               IN THE UNITED STATES DISTRICT COURT

                     FOR T}IE DISTRICT OF HAWAII

 LINITED STATES OF AMERICA,            )   cR. NO. 22-00060 LEK
                                       )
                  Plaintiff,           )   GOVERNMENT'S MOTION FOR
                                       )   LEAVE OF COURT TO TAKE
      VS                               )   VIDEOTAPED DEPOSITION;
                                       )   CERTIFICATE OF SERVICE
 WALTERGLENNPRIMROSE, (01)             )
    aka, "Bobby Edward Fort"           )
                                       )
 GWYNN DARLE MORRISON, (02)            )
   aka, "Julie Lyn Montague"           )
                                       ) Trial Date: October 23,2023
                  Defendants.          ) Judge: Hon. Leslie E. Kobayashi
                                       )


      GOVERNMENTS' MOTION FOR LEAVE OF COURT TO TAKE
                 VIDEOTAPED DEPOSITION
Case 1:22-cr-00060-LEK Document 180 Filed 06/13/23 Page 2 of 4                 PageID.590




       The United States moves this Court, pursuant to Rule l5(a)(l) of the Federal

Rules of Criminal Procedure, for an order authorizing the taking of a videotaped

deposition of Anita Paulette     Harris. Ms. Harris, who      resides in the Dallas, Texas

area, is the niece of Charlotte Eileen   Fort.     Charlotte Eileen Fon is deceased but

was the mother of "Bobby Edward        Fort."      Ms. Harris is under subpoena to testifu

at the trial of this   matter. Ms. Harris   has advised the govemment, however, that

she is not able to travel to   Honolulu. The govemment would prefer not to disclose

the particulars of Ms. Harris' condition in a public pleading but       will provide

additional information in a sealed pleading if directed by the Court.

       Ms. Harris has advised the govemment that she and Charlotte Eileen Fort

resided together in the late 1960s in Irving,      Texas. Ms. Harris   has advised that

Ms. Fort gave birth to Bobby Edward Fort and that Bobby Edward For was often

sickly and needed constant care. Ms. Harris recalls that shortly after Bobby

Edward Fort was born, Ms. Fort moved back to Marble Falls, Texas, to live with

her parents. Ms. Harris has told the govemment that Bobby Edward Fort had

trouble breathing and other medical issues and died in Marble Falls several months

later. Ms. Harris      has advised the govemment that she attended a memorial for

Bobby Edward Fort and that Bobby Edward Fort was buried in Marble Falls

Cemetery.

       Ms. Harris can provide signihcant testimony in this case. She can establish


                                               )
Case 1:22-cr-00060-LEK Document 180 Filed 06/13/23 Page 3 of 4             PageID.591




the "means of identification" of another person that Defendant Walter Glenn

Primrose used, that is the name, "Bobby Edward Fort," belonged to a real person.

Ms. Harris' testimony will provide essential testimony in support of Counts 1,2, 3,

and 5.

         Rule l5(a)(l) of the Federal Rules of Criminal Procedure permits the court

to order that trial testimony be preserved via a deposition due to "exceptional

circumstances" and in the "interest   ofjustice." Ms. Harris is prepared to offer

significant testimony in this case but is unable to travel to Honolulu. The

govemment asks the Court to issue an order authorizing the taking of a videotaped

deposition of her testimony, which can be used at    trial.   Such a deposition would

allow Harris not to travel, while also allowing her to provide testimony subject to

cross-examination.

         DATED:      June 13, 2023, at Honolulu, Hawaii.

                                               Respectfully submitted,

                                               CLARE E. CONNORS
                                               United States Attomey
                                               District of Hawaii


                                               By     -Tmry-A,L*t
                                                    THOMAS MUEHLECK
                                                    Assistant U.S. Attomey




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Case 1:22-cr-00060-LEK Document 180 Filed 06/13/23 Page 4 of 4          PageID.592




                          CERTIFICATE OF SERVICE

      I hereby certif that, on the date and by the method of service noted below, a

true and correct copy of the foregoing was served on the following at their last

known address:

Served through Email:

GaryG.Singh,Esq.          E-mail:gary@garysinghlaw.com

Attorney for Defendant
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Attomey for Defendant
GWYNN DARLE MORRISON
aka "Julie Lyn Montague"



      DATED:      June 13, 2023,at Honolulu, Hawaii.



                                /s/ Alaina Benson
                                U.S. Attomey's Office
                                 District of Hawaii
